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100 Stare Seeet 474 MAY 3 0 201 §§ '.S. Magistrate Judge
Roehesrer, NY 14614 %;;§ LOEWENGHC§@O? stern D¢stnct,ofNew York.
Re: United States v. RichardLeon Wil e R, -R 6-CJS, l7-CR-6017-CJS
Magistrate ludge Feldman:_

The Court’s scheduling order in the above-referenced matter requires the iling of pre-
trial motions by tomorrow, May 31, 2018. Iarn writing to request that_this deadline be extended
for approximately 30 days for the District Court to resolve a legal issue that has arisen since the ,
scheduling order Was issued _ - l

Please also consider this letter my application-to continue the tolling of the speedy trial
clock pursuant to 18 U.S.C. § 3161(h)(7)(A). I believe the requested adjournment will serve the
interests of justiee. `

Respeetftdly submitted,

_/ . Sonya A. gagth

Assistant Federal Publie Defender

ce: Douglas Gregory, AUSA (via e-mail)

